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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION
                           ____________

                            No. 3:21-CV-01585-S
                               ____________

          IN RE: HIGHLAND CAPITAL MANAGEMENT, L.P.,
                           Debtors.

         THE CHARITABLE DAF FUND, L.P. AND CLO HOLDCO, LTD.,
                                                       Appellants,

                                     v.

                  HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                               Appellee.
                                ____________

          REPLY IN SUPPORT OF APPELLANTS’ MOTION TO
                     STAY OR ABATE APPEAL
                          ____________

  APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE
      NORTHERN DISTRICT OF TEXAS, CASE NO. 19-34054-sgj11

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      The core issue in this appeal is:

      Did the bankruptcy court overstep its statutory and/or constitutional
      powers by extending to debtor-retained professionals (like Mr. Seery)
      claim-gate-keeping and quasi-judicial-immunity benefits traditionally
      reserved for trustees?

      The Fifth Circuit is poised to address a similar—potentially dispositive—issue

of first impression in another case arising out of the same bankruptcy proceedings—

the Nexpoint Advisors’ appeal. Even Appellee Highland Capital Management, L.P.

(“Highland Capital”) cannot help but acknowledge this overlap between the two

appeals. Highland Capital recognizes that the Fifth Circuit matter involves questions

regarding the propriety and scope of the bankruptcy court’s gatekeeping powers,

authority to release claims, and powers to enjoin claims against a wide array of

individuals and entities. Response at 10-11. Those novel questions also present

themselves in this appeal.

      Highland Capital unsuccessfully tries to draw a retroactive-prospective

distinction between the exculpation and injunctive provisions at issue in the two

appeals. But in fact, the two bankruptcy court orders at issue read similarly, with the

Plan Confirmation Order (at issue in the Fifth Circuit) building off the prior

Approval Order (at issue in this Court). Here is some challenged language from the

Plan Confirmation Order:

          [N]o Enjoined Party may commence or pursue a claim or cause
          of action of any kind against any Protected Party that arose or
          arises from or is related to the Chapter 11 case, the negotiation
                                          1
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          of the Plan, the administration of the Plan or propriety to be
          distributed under Plan . . . without the Bankruptcy Court (i) first
          determining, after notice and a hearing, that such claim or cause
          of action represents a colorable claim of any kind . . . .”

ROA.739-44.1
       And here is the challenged language from the Approval Order in this case:

          No entity may commence or pursue a claim or cause of action of
          any kind against Mr. Seery relating in any way to his role as the
          chief executive officer and chief restructuring officer of the
          Debtor without the Bankruptcy Court (i) first determining after
          notice that such claim or cause of action represents a colorable
          claim of willful misconduct or gross negligence against Mr.
          Seery, and (ii) specifically authorizing such entity to bring such
          claim.

Just as the parties in the Fifth Circuit appeal dispute the breadth of the exculpating

and injunctive provisions in the Plan Confirmation Order, so too here, Appellants

the Charitable DAF Fund, L.P. and CLO Holdco, Ltd. (collectively “DAF/CLO

Holdco”) challenge the breadth of similar language in the bankruptcy court’s earlier

Approval Order.

       Highland Capital’s Response tries to avoid the obvious connection between

the merits of the two appeals by first embarking on an ad hominem smear campaign

and then emphasizing irrelevant procedural distinctions.




1
  “Protected Party” as defined in the Plan Confirmation Order includes a host of
individuals and entities, including “the Professionals retained by the Debtor and the
Committee in the Chapter 11 case” and the “CEO/CRO [Mr. Seery][.]” App.144.
                                          2
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       To quickly address the smear campaign Highland Capital employs, most of

the Response’s Preliminary Statement and Background sections contain bald

assertions that DAF and CLO Holdco are simply alter egos of James Dondero and

acting as part of a coordinated strategy to negatively impact Highland Capital’s

bankruptcy proceedings.2 Tellingly, none of the so-called “evidence” Highland

Capital submitted to this Court supports those allegations.

       Instead, the evidence shows that DAF/CLO Holdco were created nearly a

decade before the bankruptcy proceedings ever commenced, were and have always

been separately managed, and boast as beneficiaries notable Dallas charities like The

Family Place (serving victims of domestic violence), Friends of the Dallas Police,

the Dallas Children’s Advocacy Center, and the Cristo Rey Education Initiative,

among many others.3 See Reply App. 15-17, 22-24.

       The evidence also shows that Mark Patrick (not James Dondero) is a

managing director of CLO Holdco and holds all of the limited liability company

interests in DAF GP, which has the exclusive and complete discretion in the

management and control of the DAF Fund. See Reply App. 21-22, 38. As Mr. Patrick



2
  DAF/CLO Holdco did not ask for a sixty-day extension for their opening merits
brief in this appeal. Instead, DAF/CLO Holdco asked for only thirty days, until and
including November 8, 2021.
3
 Even Highland Capital’s attorney-created “Summary” of litigation included in its
Appendix at Exhibit 17 distinguishes between DAF, CLO Holdco, and Dondero.
                                         3
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recently declared under penalty of perjury in a filing outlining the organizational

structure of DAF/CLO Holdco to the bankruptcy court, the actions he has taken on

behalf of DAF/CLO Holdco are to “protect the DAF’s investments, which are the

source of millions in charitable contributions the DAF has made over the past

decade.” Id. at 39. Those actions were not “taken under the direction of James

Dondero, or to somehow protect a direct or indirect economic benefit Mr. Dondero

receives from the DAF[,]” as “Mr. Dondero has no direct or indirect economic

ownership in the DAF.” Id.

      Turning, most importantly, to the merits of the Motion, Highland Capital

incorrectly tries to paint this appeal as involving mainly procedural issues, while the

Fifth Circuit appeal does not.

      It is true that this appeal contains procedural questions related to the finality

of the Approval Order and whether the bankruptcy court correctly applied Federal

Rule of Civil Procedure 60(b) in refusing to modify that order. But such procedural

questions are necessarily informed by the nature and propriety of the underlying

Approval Order itself. DAF/CLO Holdco have plenty of arguments about why the

bankruptcy court got those procedural issues wrong here, including that the order

was interlocutory and therefore not entitled to res judicata effect. And the fact that

this appeal contains procedural issues not presented in the Fifth Circuit does not

undercut a stay.

                                          4
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       Highland Capital also has very little to say in response to the obvious savings

in time and effort for all parties involved by waiting for the Fifth Circuit to further

develop the law in these areas. For instance, were the Fifth Circuit to hold that the

type of injunctive or exculpatory protections given to Mr. Seery in the Plan

Confirmation Order were unjustified, that would be highly instructive to this Court,

which is being asked nearly the same question and would benefit from the Fifth

Circuit’s reasoning to avoid duplicative work and potentially inconsistent outcomes.

       It appears Highland Capital’s implicit urgency here derives from its

confidence of success on the merits both in the NexPoint Advisors’ appeal and here.4

But of course, the Fifth Circuit granted permission for the parties to appeal to it in

NexPoint Advisors. And such unwarranted confidence is not enough to mitigate the

factors in favor of a stay such as avoiding wasted judicial and party resources or

inconsistent rulings. See ZeniMax Media, Inc. v. Samsung Elecs. Co., No. 3:17-CV-

1288-D, 2017 U.S. Dist. LEXIS 176598, at *13-14 (N.D. Tex. 2017) (“After

balancing the competing interests, and taking into consideration the court’s interest

in promoting judicial economy and avoiding unnecessary duplication of efforts and

inconsistent rulings, the court, in its discretion, grants the motion to stay.”).


4
  Highland Capital sprinkles discussion of the merits of this appeal in its Response,
but that discussion is wrong, as will be further explained in DAF/CLO Holdco’s
briefing. A quick example—Highland Capital says the exculpation clause in the
Approval Order is “customary,” but cites absolutely no authority to support that
statement. See Response at 5.
                                         5
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      For the reasons stated in the Motion and in this Reply, this Court should abate

this appeal. See id.; Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936); Mulvey v.

Vertafore, Inc., No. 3:21-CV-00213-E, 2021 U.S. Dist. LEXIS 174872, at *3 (N.D.

Tex. 2021) (staying action justified to avoid inconsistent rulings and preserve

judicial and party resources).

                                 CONCLUSION

      DAF/CLO Holdco request that this Court stay or abate this appeal. DAF/CLO

Holdco request any and all further relief to which they may be entitled.


Dated: October 5, 2021                 Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Bankruptcy Procedure 8015(h), I hereby certify

that:

        The foregoing motion complies with the word limit of Federal Rules of

Bankruptcy Procedure 8013(f)(3)(A), excluding the parts of the motion exempted

by the Federal Rule of Bankruptcy Procedure 8015(g) and the accompanying

documents exempted by Federal Rule of Bankruptcy Procedure 8013(f)(3), this

document contains words.

        This document complies with the typeface requirements of Federal Rules of

Bankruptcy Procedure 8013(f)(2), 8015(a)(5), and 8015(a)(6) because it has been

prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-point

Times New Roman font.

                                              /s/ Mazin A. Sbaiti
                                              Mazin A. Sbaiti


                          CERTIFICATE OF SERVICE

        I certify that on October 5, 2021, I caused a copy of the foregoing document

to be served by Electronic Case Filing System for the United States District Court

for the Northern District of Texas.



                                              /s/ Mazin A. Sbaiti
                                              Mazin A. Sbaiti

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